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 5
                                   UNITED STATES DISTRICT COURT
 6                                WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
 7
      LUIGI MARRUSO,                                    CASE NO. C24-1455-KKE
 8
                               Plaintiff,               ORDER STRIKING MOTION FOR
 9
                 v.                                     DEFAULT JUDGMENT AND VACATING
                                                        ENTRY OF DEFAULT
10
      ROBERT W MONSTER, et al.,
11
                               Defendants.
12
                This matter comes before the Court on Plaintiff’s motion for default judgment. Dkt. No.
13
     15. The Court previously entered default against Defendants. Dkt. No. 10. The Court now vacates
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     that entry of default because the proof of service on Defendant Epik, Inc. is flawed. Dkt. No. 6.
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     With respect to Defendant Epik, Inc., the proof of service states that “I personally served the
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     summons on the individual” but Epik, Inc. is not an individual. Id. Under Local Rule 55(b), the
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     Court must vacate the prior entry of default. Local Rules W.D. Wash. LCR 55(a) (“The affidavit
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     shall specifically show that the defaulting party was served in a manner authorized by Fed. R. Civ.
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     P. 4.”).
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                Because the Court vacates the clerk’s entry of default, Plaintiff’s motion for default
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     judgment must be denied without prejudice under Local Rule 55(b)(1). LCR 55(b)(1) (“No motion
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     for judgment by default should be filed against any party unless the court has previously granted
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     a motion for default against that party pursuant to LCR 55(a) or unless default otherwise has been
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     ORDER STRIKING MOTION FOR DEFAULT JUDGMENT AND VACATING ENTRY OF DEFAULT - 1
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 1   entered.”). To the extent Plaintiff cures its service defect and the Court re-enters default against

 2   Defendants under Rule 55(a), Plaintiff may refile its motion for default judgment.

 3          Plaintiff is further advised that the pending motion for default judgment references an

 4   “attached declaration” and an “Exhibit 1” throughout. Dkt. No. 15. This document(s) was not

 5   filed. Any future motion for default judgment shall include all referenced materials.

 6          In conclusion, the Court ORDERS:

 7              1. The clerk’s entry of default (Dkt. No. 10) is VACATED.

 8              2. Plaintiff may provide a new or corrected proof of service that follows Federal Rule

 9                  of Civil Procedure 4(h) by March 14, 2025.

10              3. The Court DENIES WITHOUT PREJUDICE Plaintiff’s motion for default

11                  judgment. Dkt. No. 15.

12              4. Plaintiff shall mail a copy of this order with a copy of the docket to each Defendant

13                  at the addresses provided in the proofs of service (Dkt. Nos. 6–8).

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15          Dated this 3rd day of March, 2025.



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                                                   Kymberly K. Evanson
18                                                 United States District Judge

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     ORDER STRIKING MOTION FOR DEFAULT JUDGMENT AND VACATING ENTRY OF DEFAULT - 2
